          Case 1:21-cr-00003-RCL Document 95 Filed 11/24/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )
                                             )
JACOB CHANSLEY,                              )
                                             )       Cause No.: 1:21-cr-00003
       Defendant                             )
                                             )

                     DEFENDANT’S MOTION FOR LEAVE TO FILE
                             MOTION UNDER SEAL


       COMES NOW Defendant, by and through his counsel of record, and requests leave of

Court to file under seal a Motion to Confirm Representation of Defendant.

       The motion contains personal identifying information and sets forth sensitive

information relating to Defendant.

       WHEREFORE, Defendant prays this Honorable Court grant permission to Defendant’s

counsel to file under seal the motion.

                                             Respectfully Submitted,

                                             KODNER WATKINS

                                             By:_/s/ Albert S. Watkins
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                                                 St. Louis, MO 63117
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                                 CERTIFICATE OF SERVICE

        Signature above is also certification that on November 24, 2021, a true and correct copy
of the foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF
system which will send notification of such filing to all parties of record.
